           Case 2:08-cr-00363-WBS Document 87 Filed 10/05/09 Page 1 of 2


1    DANIEL BRODERICK, Bar # 89424
     Federal Defender
2    DENNIS S. WAKS, Bar #142581
     Supervising Assistant Federal Defender
3    801 I Street, 3rd Floor
     Sacramento, California 95814
4    Telephone: (916) 498-5700
5
     Attorney for Defendant
6    LORETTA LEIGH CANHAM
7                       IN THE UNITED STATES DISTRICT COURT
8                     FOR THE EASTERN DISTRICT OF CALIFORNIA
9
     UNITED STATES OF AMERICA,          )   No. Cr.S. 08-363-GEB
10                                      )
                     Plaintiff,         )
11                                      )   STIPULATION AND [ORDER]
          v.                            )
12                                      )
                                        )   Date: November 20, 2009
13                                      )   Time: 9:00 A.M.
     LORETTA LEIGH CANHAM and           )   Judge: Hon. Garland E. Burrell
14   DAVID ROBBIE FORKNER,              )
                                        )
15                  Defendants.         )
     ______________________________
16
17        IT IS HEREBY STIPULATED by and between the parties through their
18   respective counsel, MICHAEL M. BECKWITH, Assistant United States
19   Attorney, attorney for Plaintiff, DENNIS S. WAKS, Supervising Assistant
20   Federal Defender, attorney for defendant, LORETTA LEIGH CANHAM and JOHN
21   R. MANNING, attorney for defendant, DAVID ROBBIE FORKNER, that the
22   current Status Conference date of October 2, 2009 be vacated and reset
23   for November 20, 2009 at 9:00 a.m.
24        Defense counsel needs additional time to prepare, to review the
25   discovery, and to interview witnesses.
26        It is further stipulated and agreed to between the parties that
27   from the date of this order to November 20, 2009, time should be
28   excluded within which the trial of the above criminal prosecution must
              Case 2:08-cr-00363-WBS Document 87 Filed 10/05/09 Page 2 of 2


1    commence for purposes of the Speedy Trial Act.           All parties stipulate
2    and agree that this is an appropriate exclusion of time within the
3    meaning of Title 18, United States Code, §3161(h)(7)(B)(iv)(Local Code
4    T4).
5
6    Dated:    October 1, 2009                 Respectfully submitted,
7                                              DANIEL BRODERICK
                                               Federal Defender
8
9                                               /s/ Dennis S. Waks
                                               DENNIS S. WAKS
10                                             Supervising Assistant Federal
                                               Defender
11                                             Attorney for Defendant
                                               LORETTA LEIGH CANHAM
12
     DATED:    October 1, 2009
13
14                                             /s/ Dennis S. Waks for
15                                             JOHN MANNING
                                               Attorney for Defendant
16                                             DAVID ROBBIE FORKNER
17
                                               LAWRENCE G. BROWN
18
19   Dated: October 1, 2009
                                               /S/ Dennis S. Waks for
20                                             MICHAEL M. BECKWITH
                                               Assistant U.S. Attorney
21
                                             ORDER
22
            IT IS SO ORDERED.
23
24   Dated:    October 2, 2009

25
26                                        GARLAND E. BURRELL, JR.
                                          United States District Judge
27
28


                                               2
